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                                                   8                       UNITED STATES DISTRICT COURT
                                                   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                  10
                                                       UNITED STATES OF AMERICA,             )   CASE NO. 8:17-CR-00061-DOC
                                                  11                                         )
           T: (949) 523-3333; F: (949) 523-3003
           HUNTINGTON BEACH, CALIFORNIA 92647




                                                                          Plaintiff,         )   ORDER ON STIPULATION
               7755 CENTER AVENUE, SUITE 1225




                                                  12                                         )   TO CONTINUE SENTENCING
                                                                   v.                        )   HEARING [48]
                                                  13                                         )
SKT LAW, P.C.




                                                       JAMES CHEN,                           )
                                                  14                                         )
                                                                          Defendant.         )
                                                  15                                         )
                                                  16         Having reviewed the joint Stipulation submitted by the parties, by and
                                                  17   through their respective counsel of record, it is hereby ORDERED that:
                                                  18         The sentencing hearing in the above captioned matter now set on
                                                  19   December 16, 2019 at 1:30 pm, is continued to June 1, 2020, at 1:30 pm.
                                                  20   IT IS SO ORDERED:
                                                  21
                                                                                             ______________________________
                                                  22          November 18, 2019
                                                       Dated: ____________                   Honorable DAVID O. CARTER
                                                                                             UNITED STATES DISTRICT JUDGE
                                                  23
                                                  24   Jointly Presented by:
                                                  25   MARK AVEIS
                                                       Assistant United States Attorney
                                                  26
                                                       ELIOT F. KRIEGER
                                                  27   SKT Law, P.C.
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                                                                ORDER ON STIPULATION TO CONTINUE SENTENCING HEARING
